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03/27/2020 08:08 AM CDT




                                                        - 108 -
                               Nebraska Supreme Court Advance Sheets
                                        305 Nebraska Reports
                                   STATE EX REL. COUNSEL FOR DIS. v. GALTER
                                               Cite as 305 Neb. 108



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                                v. Paul E. Galter, respondent.
                                                    ___ N.W.2d ___

                                        Filed February 21, 2020.   No. S-20-057.

                    Original action. Judgment of disbarment.
                 Heavican, C.J., Miller‑Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by respondent, Paul E. Galter, on January 23,
               2020. The court accepts respondent’s voluntary surrender of his
               license and enters a judgment of disbarment.
                                  STATEMENT OF FACTS
                  Respondent was admitted to the practice of law in the State
               of Nebraska on June 18, 1953. On January 23, 2020, respond­
               ent filed a voluntary surrender of license to practice law, in
               which he stated that a grievance was filed against him with
               the Counsel for Discipline. Respondent states that a grievance
               was filed by Kansas attorneys, Jason E. Brinegar and Coleman
               J. Younger, which alleged that respondent, as trustee of the
               Edwin Irvine Testamentary Trust, misappropriated funds from
               said trust during 2018 and 2019 in the approximate amount
               of $37,000. Respondent states that he knowingly does not
               contest the truth of the allegations set forth in the grievance.
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. GALTER
                       Cite as 305 Neb. 108
Respondent stated that he freely and voluntarily surrenders his
privilege to practice law in the State of Nebraska; waives his
right to notice, appearance, or hearing prior to the entry of an
order of disbarment; and consents to the entry of an immediate
order of disbarment.
                          ANALYSIS
   Neb. Ct. R. § 3‑315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or
      her license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge
      and waives all proceedings against him or her in connec-
      tion therewith.
Pursuant to § 3‑315 of the disciplinary rules, we find that
respondent has voluntarily surrendered his license to practice
law and knowingly does not challenge or contest the truth of
the allegations that could be made against him as trustee of
the Edwin Irvine Testamentary Trust. Further, respondent has
waived all proceedings against him in connection therewith.
We further find that respondent has consented to the entry of
an order of disbarment.
                        CONCLUSION
   Upon due consideration of the court file in this matter, the
court finds that respondent has stated that he freely, know-
ingly, and voluntarily admits that he does not contest the alle-
gations being made against him. The court accepts respond­
ent’s voluntary surrender of his license to practice law, finds
that respond­ent should be disbarred, and hereby orders him
disbarred from the practice of law in the State of Nebraska,
effective immediately. Respondent shall forthwith comply with
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         Nebraska Supreme Court Advance Sheets
                  305 Nebraska Reports
           STATE EX REL. COUNSEL FOR DIS. v. GALTER
                       Cite as 305 Neb. 108
all terms of Neb. Ct. R. § 3‑316 (rev. 2014) of the disciplinary
rules, and upon failure to do so, he shall be subject to punish-
ment for contempt of this court. Accordingly, respondent is
directed to pay costs and expenses in accordance with Neb.
Rev. Stat. §§ 7‑114 and 7‑115 (Reissue 2012) and Neb. Ct.
R. §§ 3‑310(P) (rev. 2019) and 3‑323 of the disciplinary rules
within 60 days after an order imposing costs and expenses, if
any, is entered by the court.
                                   Judgment of disbarment.
